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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

__________________________________________________________________
                                    :
DBW PARTNERS, L.L.C.                :
d/b/a THE CAPITOL FORUM,            :
                                    :
                                    :    Civil Action No. 22-1333
                                    :    (BAH)
               Plaintiff,           :
                                    :
           v.                       :
                                    :
                                    :
MARKET SECURITIES, L.L.C.           :
                                    :
                                    :
               Defendant.           :
                                       :




  CAPITOL FORUM’S OPPOSITION TO DEFENDANT’S MOTION TO
                        DISMISS



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       Plaintiff DBW Partners, LLC d/b/a The Capitol Forum (“Capitol Forum”) respectfully

files this brief in opposition to the motion of Market Securities, L.L.C. to dismiss this action filed

on July 15, 2022. See Dkt 15. (Defendant’s Brief)



       I.      INTRODUCTION

       For the better part of a year, Market Securities, a financial investment firm, has been

illegally obtaining copies of Capitol Forum’s copyrighted antitrust commentaries--and then

immediately summarizing and redistributing them to its own clients. Market Securities simply

copies Capitol Forum’s analyses, often in verbatim form, with no attempt to “transform” or add

anything new to the Capitol Forum work. It lifts the key observations and commentary and

repackages them for its investor/clients. This is a direct copyright violation: Market Securities

appropriates Capitol Forum’s creative and protected content for its own commercial purposes.

       In its motion to dismiss, Market Securities attempts to avoid liability by arguing that its

summaries are not “substantially similar” to the Capitol Forum publications, and that in any

event, its copying is protected by the “fair use” doctrine. Neither argument has any validity. A

side-by-side comparison of the Capitol Forum publications and the Market Securities summaries

(tellingly, Market Securities does not even attempt to compare the articles in its motion) shows

not only that the two are “substantially similar,” but in many cases are identical. As for “fair

use,” Market Securities’ argument defense has been rejected in a number of on-point financial

analysis cases dating back to the Second Circuit’s seminal decision in Wainwright Securities,

Inc. v. Wall Street Transcript Corp., 558 F.2d 91 (2d Cir.1977).1 Indeed, the principal case that



1
 Market Securities questions why Capitol Forum cites Wainwright in its complaint when “there
are a plethora of most recent cases assessing fair use.” Brief at 8, note 2. The reason is apparent
from any review of the fair use cases, and particularly those involving the financial industry.
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Market Securities relies upon for its fair use defense, Swatch Grp. Mgmt. Servs. v. Bloomberg

L.P., 742 F.3d 17 (2d Cir. 2014), specifically noted its consistent “reject[ion] of fair use

arguments pressed by defendants who purported to be serving the public by providing access to

important financial information”—precisely the argument now pushed by Market Securities. Id.,

at 29. As the Second Circuit stated, this argument that it is somehow appropriate for financial

firms to disseminate copyrighted material affecting the securities market would “distort proper

fair use analysis.” Id.

        Market Securities obtains the Capitol Forum publications by inducing one or more of the

Capitol Forum subscribers to illegally transmit those publications to it. This is a contributory

copyright violation. Here, the defense is that the contributory infringement claim has not been

properly pled. According to Market Securities, Capitol Forum has not specifically identified

which of its subscribers transmitted the copyrighted publications to Market Securities and has

also failed to state precisely how the publications were transmitted—whether by email or orally.

But this is a motion to dismiss and there is no requirement to identify the specific third party

involved, or the means by which that infringement was accomplished. Capitol Forum’s

obligation in this regard is to set forth a plausible claim for relief, which it has clearly done.

There is no question that Market Securities has improperly obtained a copy of the Capitol Forum

publications from one or more of its subscribers, as the Capitol Forum publications are sent only

to authorized recipients, none of whom are permitted to forward them to Market Securities.


Wainwright is the seminal decision on the application of the fair use doctrine in the context of
financial reporting and analysis. It continues to be followed in the circuit and lower courts and
was specifically cited by the Supreme Court in Harper & Row v. Nation Enterprises, 471 U.S.
539, 557 (1985): “The promise of copyright would be an empty one if it could be avoided merely
by dubbing the infringement a fair use "news report" of the book. See Wainwright Securities Inc.
v. Wall Street Transcript Corp., 558 F.2d 91 (CA2 1977), cert. denied, 434 U.S. 1014 (1978).”



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Further, there is no legitimate question that Market Securities obtained a written copy of the

publications, as it has been able to provide extensive verbatim quotes of the Capitol Forum

publications, and presents them in the same order. The precise details underlying the

contributory claim are a proper subject of discovery.

       Capitol Forum’s misappropriation claim has also been properly pled and is not preempted

by the copyright laws. The purpose and effect of the copyright laws is to protect creative

expression, analysis, and commentary; and as Market Securities notes throughout its brief, the

copyright laws do not protect factual reporting. But factual reporting is protected by the “hot

news’ doctrine. In Barclays Capital Inc. v. Theflyonthewall.com, Inc., 650 F.3d 876 (2d Cir.

2011), the Second Circuit specifically stated that a hot news claim could lie when the plaintiff

would collect and disseminate the facts and the defendant would “copy the facts.” Id., at 906.

That is precisely what occurred in this matter. Market Securities copied Capitol Forum’s

creative work--protected by the copyright laws, as well as its factual reporting--protected by the

misappropriation laws.


       II.     STATEMENT OF FACTS

       Capitol Forum is a paid subscription service, offering in-depth analysis and commentary

on regulatory and antitrust developments to its subscribers. In discussing a potential corporate

merger, for example, Capitol Forum’s antitrust experts will address the competitive issues

presented by the merger, assess how the merger partners might deal with those issues, and

predict how the antitrust regulators may respond to the proposed merger. Capitol Forum’s

analyses are widely respected in the industry, and provide significant value to its base of

subscribers, most of whom are financial investors.




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       Market Securities is a brokerage firm, and it distributes periodic summaries on the same

type of regulatory issues to its clients—who are also financial investors. But unlike Capitol

Forum, Market Securities does not undertake its own analysis. Instead, it (improperly) obtains

the Capitol Forum publications without the required license, copies the Capitol Forum analyses

in a brief synopsis, and sends them out to its investor clients. Much of its copying involves

verbatim quotes from the Capitol Forum material.

       At the outset, it is important to address Market Securities’ arguments that Capitol Forum

has failed to demonstrate any substantial similarity of protectible elements, and that the only

similarities between the copyrighted works and the defendant’s summaries involve the reporting

of unprotectible facts. Defendant’s Brief (Brief) at 5-7, and 12. These assertions are made in

conclusory fashion, to the extent that Market Securities makes no attempt whatsoever to compare

the actual texts of the copyrighted publications with the text of its summaries—an analysis

critical to any substantial similarity dispute—and an analysis demonstrating that Market

Securities was directly copying not only Capitol Forum’s factual reporting, but also its analysis

and commentary on those antitrust developments.

       The complaint carefully separates Capitol Forum’s factual reporting from its protected

commentary and analysis. For example, paragraphs 29 and 30 discuss an October 25, 2020,

publication in which Capitol Forum reported on an antitrust investigation into the effect of a

proposed merger in the Camden, Arkansas labor market. It reported that: (1) the staff of the

Federal Trade Commission was reviewing employment data to determine whether there might be

an effect on competition in the area; (2) the staff had begun to take depositions; and (3) the FTC

Bureau of Economics had requested industry data. Paragraph 29 sets forth only the facts that




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were contained in the Market Securities summary, and no claim is made that the reporting of

these facts contains protectible elements under the Copyright Act.2

       But paragraph 30 contains an inventory of the protected elements that Market Securities

copied, including Capitol Forum’s analysis of, and commentary on, the important aspects of the

antitrust investigation, and in particular Capitol Forum’s take of the strength of any FTC case

and the likelihood that a challenge would be brought, and presented in the same order as the

Capitol Forum publication:

       A. That labor monopsony has “emerged as a growing bipartisan concern” which the

           FTC Chairman has “targeted as a top enforcement priority.” (Bolded words in

           quotations indicate direct quotations from the Capitol Forum publication.)

       B. That the “DOD (Department of Defense) will be as influential this time isn’t

           assured.”

       C. That antitrust regulators “have only rarely brought merger cases based on labor

           monopsony concerns,” and that this transaction “presents a prime opportunity to

           delve into the issue.”

       D. That this monopsony case is not “clear cut.”

       E. That “Defense contractors’ demand for workers outstrips the supply in

           Camden;” and

       F. That the FTC’s pursuit of a monopsony case “is far from a sure thing” and that

           monopsony cases are “rarely litigated.”




2
 As addressed in Section VI of this brief, Capitol Forum’s news reporting is the subject of its
misappropriation claim.


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       Similarly, paragraph 25 and 26 of the complaint discusses an acquisition involving

Qualcomm, Veoneer, and Arriver that was being investigated by foreign regulatory agencies, and

paragraph 27 then lays out Market Securities’ copying of the protectible commentary and

analysis, again in the same order, including:

       A. That the merger involves “vertical” issues and whether the agencies would take

           action would depend on the “perceived independence” from Qualcomm.

       B. “To be sure, the parties could describe the backstop arrangement as typical of a

           public company deal without financing contingencies to close.” (This entire

           sentence was copied word for word)

       C. That the EC might consider “the two-step transaction as a warehousing

           arrangement.”

       D. That a filing in Germany is a possibility due to the involvement of Arriver.

       E. That CMA can step in if SSW is viewed as “acting on Qualcomm’s behalf.”

       F. That HSR can raise issues due to th4 possibility of rivals being “locked out by

           Qualcomm,” and

       G. That the parties can argue that the deal strengthens competition given dominant

           players like Intel.

       The Market Securities summaries directly copy the Capitol Forum publications. They are

substantially similar--if not identical--and the preceding subparagraphs set forth the protected

creative material that was copied.

       III. THE DIRECT INFRINGEMENT CLAIM IS PROPERLY PLED

       As Market Securities correctly asserts, to state a claim for direct copyright infringement,

a plaintiff must allege: (1) that it has an ownership interest in a valid copyright, and (2) that the




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defendant copied the original or protectable aspects of that copyrighted work. Brief at 3. Both

requirements are met. The ownership interest is pled at paragraph 18 of the complaint. The

copying of protectable aspects is alleged throughout the complaint, and particularly at paragraphs

4, 8, 23, 24 and 38. And while not necessary to the validity of a complaint, the precise

protectable aspects of the copying are alleged at paragraphs 27 and 30, including the actual text

of that copying.

       Market Securities’ argument, however, is that the “only similarities” in its summaries are

similarities in unprotected facts. Brief at 7. This argument is baseless. As noted, the complaint

separates Capitol Forum’s factual reporting from its commentaries, which, again, are set forth at

paragraphs 27 and 30. These paragraphs set forth the protectable elements of the Capitol Forum

publications under the copyright laws: its commentaries on the proposed mergers and its

assessment of the strength of any antitrust challenge to the merger and the likelihood of any

regulatory action on the part of the antitrust enforcers. These analyses are not unprotectable

facts—they are the product of expert analysis, experience, and judgment, and it is this expert

commentary that carries significant weight in the financial community.

       It should also be noted that the “substantial similarity” issue bears little significance when

there exists direct evidence that the defendant has copied the plaintiff’s work. Because proof of

copyright infringement is often highly circumstantial, the similarity of the plaintiff’s and

defendant’s work will frequently have to be analyzed to determine whether copying occurred.

Three Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000). But that is not an issue

here. Market Securities does not deny that it copied any of the Capitol Forum publications; to




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the contrary it admits copying, when it asserts that it only “took what was necessary to convey

the pertinent information [in the Capitol Forum publications] to its consumers.” Brief at 13.3

          Finally, regarding Market Securities’ observation that Capitol Forum has referred to 16

copyright registrations, but only addressed the verbatim copying of two of its publications, there

is no mystery here. As stated in paragraph 31 of the complaint, Capitol Forum is aware that the

copying began at least in December 2020, but because the Market Securities summaries are not

publicly available, Capitol Forum is not yet aware of the full extent of the infringement. This

will be determined in discovery.

          IV. MARKET SECURITIES’ “FAIR USE” ARGUMENT HAS BEEN
          REPEATEDLY REJECTED

          Market Securities argues that its copying is protected by the fair use doctrine. It asserts

that its copying: (1) served a compelling public purpose, Brief at 9; (2) that the copied material

was solely factual and thus not protected, id., 12; (3) that it only copied “what was necessary to

serve its purpose,” id., at 12; and (4) that its summaries do not supplant the market for Capitol

Forum’s analysis because the two parties are not in competition, id., at 13-14. These arguments

ignore the well-pled allegations of the complaint and the demonstrable facts underlying those

allegations. They are also based upon an incorrect (and universally rejected) construct of the

law.




3
    As the court also stated in Three Boys Music Corp. v. Bolton, 212 F.3d 477, 485 (9th Cir. 2000),
    substantial similarity is inextricably linked to the issue of access. In what is known as the
    "inverse ratio rule," we "require a lower standard of proof of substantial similarity when a high
    degree of access is shown." Smith, 84 F.3d at 1218 (citing Shaw v. Lindheim, 919 F.2d 1353,
    1361-62 (9th Cir. 1990); Krofft, 562 F.2d at 1172). Furthermore, in the absence of any proof of
    access, a copyright plaintiff can still make out a case of infringement by showing that the songs
    were "strikingly similar." See Smith, 84 F.3d at 1220; Baxter v. MCA, Inc., 812 F.2d 421, 423,
    424 n.2 (9th Cir. 1987).



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       Fair use is an affirmative defense, and the “defendants bear the burden of proving that

their use was fair.” Swatch, at 25. Because resolution of a fair use issue is a mixed question of

fact and law, Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 560 (1985), its

application is generally inappropriate on a motion to dismiss. Nichols v. Club for Growth Action,

235 F. Supp. 3d 289 (D.D.C 2017). In addition, fair use is an equitable doctrine--and the

conduct of the defendant is a factor that should be considered. In Harper & Row, the Supreme

Court observed that the knowing use of an improperly obtained manuscript militated against a

fair use defense. This consideration weighs heavily against Market Securities’ fair use defense,

given that it was only able to copy the Capitol Forum publications because it illegally induced

one (or more) of the Capitol Forum subscribers to forward it the publications--in violation of the

subscriber’s legal and contractual obligations. 471 U.S. at 557.


       There are also four statutory factors that the courts are directed to follow in addressing a

fair use defense. The Copyright Act, at 17 U.S.C. Section 107, provides that in determining

whether a particular use is fair, “the factors to be considered shall include”:


       (1) the purpose and character of the use, including whether such use is of a commercial

nature or is for nonprofit educational purposes;


       (2) the nature of the copyrighted work;


       (3) the amount and substantiality of the portion used in relation to the copyrighted work

as a whole; and


       (4) the effect of the use upon the potential market for or value of the copyrighted work.




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       The application of each of these factors militates strongly against Market Securities’ fair

use defense.


       A. The Purpose and Character of the Use


       With respect to the first statutory factor, the principal determinant is whether the

defendant’s use was for a commercial, as opposed to a non-profit purpose. In this regard, the

Supreme Court has stated that copies made for commercial or profit-making purposes are

presumptively unfair. Sony Corp. of America v. Universal City Studios Inc., 464 U.S. 417,

449 (1984). See also Harper & Row, 471 U.S. at 562. Here, Market Securities does not deny

that its use was purely commercial.


       In considering this factor, courts will also focus on whether the defendant’s use of the

copyrighted material was “transformative.” In other words, did the new work “add something

new, with a further purpose or different character, altering the first with new expression,

meaning, or message.” Campbell v. Acuff Rose Music, Inc, 510 U.S. 569, at 579 (1994);

American Society for Testing & Materials v. Public Resource.Org, 896 F.3d. 437, 449 (D.C. Cir.

2018). Here too, Market Securities does not contend that it transformed, or added anything new,

to the Capitol Forum work. It simply lifted the key observations and commentary in the Capitol

Forum publications and repackaged them for its customers.


       Market Securities ignores these two critical determinants, and argues instead that its

copying was acceptable because, in its words, it “was obligated to disseminate pertinent

financial information affecting the American securities market and its clients’ investment

decisions.” Brief at 11 (emphasis in original). But the fact that Market Securities may have had




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a FINRA obligation to disclose material information to its customers hardly gives it the right to

violate the copyright laws because it considered the Capitol Forum publications pertinent. This

would be a limitless expansion of the fair use doctrine, shielding any copyright infringement in

the financial area; and it is entirely unsupported in the law. Indeed, even the case Market

Securities advances to support this argument, Swatch Grp. Mgmt. Servs. v. Bloomberg L.P., 742

F.3d 17 (2d Cir. 2014), actually rejected this very proposition.


       In Swatch, the Second Circuit found that a sound recording was entitled to fair use

protection despite a copyright in the written transcript “because the sound recording conveys

information that a transcript or article cannot, the recording has independent value.” 742 F.3d,

at 39. But in so doing, it rejected the same argument that Market Securities’ advances here: that

the importance of financial information somehow elevates the “paid delivery” of that information

to “a public function.” Id., at 29. As the court stated, it had expressly rejected such a rule in its

earlier decisions, finding that it would “distort” proper fair use analysis.” Id. These decisions

included Nihon Keizai Shimbun, Inc. v. Comline Business Data, Inc., 166 F.3d 65 (2d Cir.

1999), Wainwright Securities, Inc. v. Wall Street Transcript Corp., 558 F.2d 91 Cir.1977),

and Financial Information, Inc. v. Moody's Investors Service, Inc. (“ FII ”), 751 F.2d 501 (1984).

As the court stated: “In those cases, we rejected fair use arguments pressed by defendants who

purported to be serving the public by providing access to important financial information.4

Swatch, 742 F.3d at 29.




       4
           As the court stated in FII: “To classify Moody's sales of its News Reports as a public
           function would, it seems to us, state a rule that whenever there is a market for
           information, the paid delivery of goods to that market rises to a public function. While


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       The court went on to observe that the defendants in those cases had “appropriated works

in which the copyright owner had transformed raw financial information by compiling it from

multiple sources or by mixing it with their own commentary and analysis,” exactly what

happened in this case. For example, in Wainwright, the defendant had “recounted the critical

conclusions and predictions from research reports about major industrial and financial

corporations,” Wainwright, 558 F.2d at 93 and note 1. In Financial Information, Inc., the

defendant had “copied information about municipal bond redemptions compiled by a competing

financial publisher.” FII, 751 F.2d at 502-03. The conduct of Market Securities is no different.


       Finally, even if this “public function” argument had any vitality, it would not apply here.

Market Securities does not publish its summaries to the general public. It provides its summaries

only to its clients--and thus serves no “public function.”


       B. The Nature of the Work: Facts or Analysis


       The second factor addresses the nature of the copyrighted work, and whether the work

involves unprotectible facts or protectible creative content. Market Securities states, in

conclusory fashion, that the only things it copied were “unprotectible facts.” Market Securities

makes this statement without so much as a nod to the actual material that it copied. The creative

and protectible Capitol Forum analysis and commentary is set forth in paragraphs 27 and 30 of

the complaint—and highlighted in bold above.




         perhaps sound as a matter of economic theory, such a construction would distort the
         statutory "first factor" of fair use in the copyright context. 751 F.2d at 509.




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       C. The Amount and Substantiality of the Work Used


       The third factor to be considered is “the amount and substantiality of the portion used in

relation to the copyrighted work as a whole.” Market Securities argues that a consideration of

this factor supports a fair use finding because its articles were much shorter: “blurbs” of 224 and

316 words, as opposed to the nine- and seven-page Capitol Forum publications. But as the

Supreme Court stated in Campbell v. Acuff, “this factor calls for thought not only about the

quantity of the materials used, but about their quality and importance, too.” 510 U.S. 569, at

587. Here, as addressed earlier, Market Securities copied—often word for word—the most

salient portions of the Capitol Forum’s publications: its analysis of the likelihood of regulatory

action. It is this analysis which is critical to the investment decisions made by the Capitol Forum

subscribers and the Market Securities clients. In Harper & Row, for example, the defendant had

taken only approximately 300 words from President Ford’s memoirs, but the fair use defense

was rejected because the words that were taken amounted to “the heart of the book,” that part

most likely to be important to readers. 471 U. S., at 564-566, 568. So too here.


       Market Securities also argues that this factor favors fair use because it only took “what

was necessary to fulfill its purpose” and because the only things taken were “unprotectible

facts.” Both arguments have been addressed above. Market Securities had no legitimate purpose

in copying the Capitol Forum publications for the benefit of its own clients, and it clearly copied

protectible elements.


       D. The Effect on the Market




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       The final statutory factor is the “effect of the use upon the potential market for or value of

the copyrighted work,” and as the Supreme Court has noted, there is a presumption of market

harm when, as here "a commercial use amounts to mere duplication of the entirety of an

original." Campbell, 510 U.S. at 591. Market Securities argues that its copying has no effect on

the demand for Capitol Forum’s commentaries because the parties compete in separate markets.

According to Market Securities, Capitol Forum caters to subscribers who want its market

information immediately, whereas its clients may not need the information immediately. Market

Securities also says that it does not compete with Capitol Forum because it is an investment firm

and Capitol Forum is a publisher.


       But whether these firms may or may not compete and whether they may or may not cater

to different types of readers does not mean that the Market Securities’ infringement does not

affect Capitol Forum’s subscriber base. As plead in the complaint, Market Securities’ conduct

“obviate[es] the need for potential subscribers to purchase a Capitol Forum subscription.”

Paragraph 4. This is a 12(b)(6) motion, where “all well-pleaded allegations of material fact [are

accepted as true] and construe[d] in the light most favorable to the non-moving party.” Padilla v.

Yoo, 678 F.3d 748, 757 (9th Cir. 2012), and must grant the plaintiff the benefit of all inferences

that can be derived from the alleged facts. Conley v. Gibson, 355 U.S. 41,45-46 (1957); Barr v.

Clinton, 379 F.3d 1196, 1196 (D.C. Cir 2004) (citing Kowal v. MCI Comm'ns Corp. 16 F.3d

1271, 1276 (D.C. Cir. 1994).


       Market Securities does not and cannot assert that its clients would not purchase a Capitol

Forum subscription if it ceased its infringing activities. As fair use is an affirmative defense,

Market Securities has the burden to present facts to demonstrate that its conduct does not affect




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Capitol Forum’s potential market, and it has failed to do so. Moreover, this factor must also

consider the potential market for Capitol Forum’s publications if infringement of this type

becomes widespread. As the D.C. Circuit stated in American Society for Testing & Materials v.

Public Resource.Org, 896 F.3d. 437, 452 (D.C. Cir. 2018): “The fourth fair use factor—“the

effect of the use upon the potential market for or value of the copyrighted work,” 17 U.S.C. §

107(4)—“requires courts to consider not only the extent of market harm caused by the particular

actions of the alleged infringer, but also ‘whether unrestricted and widespread conduct of the sort

engaged in by the defendant . . . would result in a substantially adverse impact on the potential

market’ for the original.” citing Campbell, 510 U.S. at 590 (alteration in original) (quoting 3

Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 13.05[A][4], at 13–102.61

(1993) (footnotes omitted)).” See also, Barcroft Media v. Coed Media Group, LLC, 297 F.3d

339, 355 (S.D.N.Y. 2017) (quoting Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d

605, 613 (2d Cir. 2006).


       V. THE CONTRIBUTORY INFRINGEMENT CLAIM IS PROPERLY PLED

       As Market Securities states, “in order to establish a claim of contributory copyright

infringement, the plaintiff must allege ‘(1) direct infringement by a third party; (2) knowledge by

the defendant that third parties were directly infringing; and (3) substantial participation by the

defendant in the infringing activities.’” Newborn, 391 F. Supp. 2d at 186 (internal citations

omitted). Brief at 15. Each of these elements has been alleged. Direct infringement by a third

party is alleged in paragraphs 4 and 5 of the complaint: “Market Securities will illegally obtain

the report from one or more of Capitol Forum’s subscribers, and…it is a direct copyright

violation for the subscriber to send the copyrighted publications to Market Securities.” Market

Securities’ knowledge of the direct infringement is alleged in paragraph 7: “It knows that it is a



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direct copyright violation for Capitol Forum’s subscribers to transmit copyrighted material to it.

Market Securities’ substantial participation in the infringing activities is alleged in paragraph 46:

“[Market Securities], by encouraging, inducing, and causing Capitol Forum subscribers to

provide such reports or the contents of those reports to it, has engaged in the contributory

infringement of a copyrighted work.” All these elements are appropriately pled.


       Market Securities then goes on to state: “To satisfy prong one (i.e., direct infringement

by a third party), “a plaintiff must establish ‘(1) which specific original works form the subject of

the copyright claim; (2) that the plaintiff owns the copyrights in those works; (3) that the

copyrights have been registered in accordance with the statute; and (4) by what acts [and] during

what time the defendant infringed the copyright.’” Brief at 15. With respect to the fourth

element, a plaintiff “must show that a third party infringed its copyrights by violating [its]

exclusive rights under 17 U.S.C. § 106, including reproduction, preparation of derivative works,

[public] distribution, or public display.” 5


       These elements are also appropriately pled. With respect to this first requirement, the

complaint sets forth the two summaries Capitol Forum was able to obtain that are clear copyright

violations, as pled in paragraphs 25-30. The complaint also alleges that this same type of

infringement has been occurring at least from December 2020, but that information is not yet

available because the Market Securities summaries are provided only to its clients and not to the

general public. Regarding the second and third elements, the complaint alleges Capitol Forum’s



5
  Citing Newborn v. Yahoo!, Inc, 391 F. Supp. 2d 181 (D.D.C. 2005) and DBW Partners, LLC v.
Bloomberg, L.P., Civil Action No. 19-311 (RBW), 2019 U.S. Dist. LEXIS 195725, at *12
(D.D.C. Nov. 12, 2019), Market Securities argues that the complaint fails to adequately allege
the circumstances giving rise to the claim. However, both cases involved the failure to
specifically identify the copyrighted material, which is not an issue here.


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ownership of the copyrights and the registrations in paragraph 18. With respect to the fourth

element, Capitol Forum has identified the acts and time period that Market Securities infringed

the copyright. It did so, as discussed above, by pleading that Market Securities had encouraged,

induced, and caused the Capitol Forum subscribers to commit direct copyright violations, and

that this conduct occurred at least between December 2020 and October 2021.


       Nevertheless, Market Securities asserts that “it remains abundantly unclear: 1) what

exclusive rights provided under 17 U.S.C. § 106, if any, any such third party (or parties) violated

by virtue of the alleged “transmission” of Plaintiff’s October Articles (and/or other works) to

Defendant; and 2) what act(s) were purportedly committed by these third parties (i.e., an oral

communication, an email, etc.).” Brief at 16. But there is no requirement that a copyright

infringement complaint specify the specific statutory rights that were infringed, or that it specify

what specific acts were committed by a third party, including whether the copyrighted material

was transmitted either by an “oral communication” or by an “email.”


       Regardless, the specific statutory right is clear from the complaint. The owner of a

copyright has the exclusive rights in any reproduction of the copyrighted work, or any

preparation of derivative works based on the copyrighted work, or any distribution of the

copyrighted works. 17 U.S.C. § 106, subsections (1), (2), and (3). And how the subscriber

directly violated its copyright obligation is equally clear from the allegations of the complaint.

The subscriber sent an email or a hard copy of the Capitol Forum publications to Market

Securities. That is the only plausible way that Market Securities was able to copy the Capitol

Forum publications in verbatim form and in precisely the same order.




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       The allegations of the complaint go far beyond simply alleging a plausible claim for

contributory infringement. The complaint asserts that the Capitol Forum publications are sent

only to the Capitol Forum and other authorized recipients, and that each publication contains a

copyright notice stating that its contents may not be distributed or reproduced without its

consent. Complaint at 3. It alleges that at no time has Capitol Forum authorized its subscribers

to transmit its material to Market Securities. Complaint at 22. It alleges that Market Securities

illegally obtained the Capitol Forum publications by inducing one or more of its subscribers to

provide the reports to it. Complaint at 46. It alleges that the Market Securities summaries

contain verbatim excerpts of the Capitol Forum publications. Complaint at 4. And Market

Securities, its motion to dismiss, acknowledges that it copied the Capitol Forum publications.

Brief at 13. This cause of action alleges far more that a “plausible” claim—Market Securities’

contributory infringement is a virtual certainty.


       Finally, the one case Market Securities cites for its assertion that this contributory

infringement case is implausible is entirely inapposite. In, McGucken v. Newsweek LLC, 464 F.

Supp. 3d 594 (S.D.N.Y. 2020), the contributory infringement claim was dismissed because there

were “no facts supporting the existence of any third parties.” Id., at 610. The plaintiff in that

case had no idea whether a third party was even involved. It did not know whether anyone had

forwarded the copyrighted material to the defendant and alleged no facts to suggest any possible

contributory infringement. Here, we know that the publication was sent to Market Securities by

one of the Capitol Forum subscribers, and the identity of this subscriber will be quickly

determined in discovery, given that each Capitol Forum publication bears a unique watermark.


       VI. THE MISAPPROPRIATION CLAIM SEEKS TO PROTECT CAPITOL
       FORUM’S NEWS REPORTING—AND THEREFORE NOT PREEMPTED



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        The “hot news doctrine” is a common law tort that exists to prevent free riding in the

news industry. It provides a limited exception, and for a limited period, to protect certain “facts”

that would not otherwise be entitled to copyright protection. This doctrine recognizes that when

time-sensitive information is generated at considerable time and expense, it would be unfair to

permit competitors to copy that work and thus misappropriate the profit potential of that work.

These free-riding situations qualify for protection and are not preempted if the following

conditions are met: (1) the information is created at considerable cost or expense; (2) the value in

the information is time sensitive; (3) the conduct of the defendant constitutes free-riding; (4) the

parties are in direct competition; and (5) the ability to free-ride on the back of its direct

competitor would threaten or reduce the plaintiff’s incentive to continue its level of investigation

and reporting. These elements were spelled out in the Nat’l Basketball Ass’n v. Motorola, Inc.,

105 F.3d 841 (2d Cir. 1997).


        The “hot news” doctrine was revisited in 2011 in Barclays Capital Inc. v.

Theflyonthewall.com, Inc., 650 F.3d 876 (2d Cir. 2011). There, the court held that the claim

presented in that case was preempted by federal law. As the court observed, the plaintiffs were

not involved in the process of acquiring and developing news stories “through efforts akin to

reporting.” Id. at 903. The Court then went on to suggest the type of allegations that would not

be preempted: “If a Firm were to collect and disseminate to some portion of the public facts…

and were Fly to copy the facts contained in the Firm's hypothetical service, it might be liable to

the Firm on a "hot-news" misappropriation theory. Id., at 905-06. In other words, were the

plaintiff seeking to protect its factual reporting, as opposed to its creative works, the copying of

that reporting would not be preempted.




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       As such, not all copying claims are preempted. The Barclays court specifically stated that

a hot news claim would lie when the plaintiff would collect and disseminate the facts and the

defendant would “copy the facts.” 650 F.3d at 906; see also BanxCorp v. Costco Wholesale

Corp., 723 F. Supp. 2d 596, 614 (S.D.N.Y. 2010) (where copying was alleged, hot news claim

was not preempted and, therefore, the motion to dismiss that claim was denied); Associated

Press v. All Headline News Corp., 608 F. Supp. 2d 454, 461 (S.D.N.Y. 2009) (where allegations

of unlawful copying of news stories was alleged, the court held that the hot news claim was not

preempted and denied motion to dismiss); X17, Inc. v. Lavandeira, 563 F. Supp. 2d 1102, 1107,

1108-09 (C.D. Cal. 2007) (where the plaintiff alleged unlawful copying of celebrity photographs,

the court found that the hot news claim was adequately pleaded and not preempted.).


       Here, Capitol Forum is seeking to protect two types of rights: (1) its rights protected

under the Copyright Act to its creative analyses and commentaries; and (2) its rights protected

under the common law of misappropriation to its factual reporting. As noted in Section II, the

complaint carefully distinguishes between Capitol Forum’s commentaries and analyses which

are protected by the copyright act, and its factual reporting, which is not so protected--and as

such is not preempted. Market Securities’ argument that the Capitol Forum misappropriation

claim is preempted because it is grounded only upon the alleged infringement of its copyright

rights, Brief at 21, is based upon a misreading of the complaint.6


       VII. THE MISAPPROPRIATION CLAIM IS PROPERLY PLED




6
 It should also be noted that the defendant in the Barclay’s case conceded that it had violated the
Copyright Act. Id., at 880.


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       Nevertheless, Market Securities asserts that this misappropriation claim should be

dismissed because the factual reporting is not time-sensitive and because it is not free-riding on

Capitol Forum’s work. Initially, it must be noted that these factors are not elements of Capitol

Forum’s misappropriation claim. If anything, they are elements of Market Securities’ preemption

defense. Capitol Forum has asserted an unfair competition and misappropriation claim, the

elements of which are: “(1) time, labor, and money spent in the creation of the thing

misappropriated, (2) a competitive relationship between plaintiff and defendant and (3)

commercial damage to the plaintiff.” GAI Audio of New York, Inc. v. Columbia Broad. Sys., Inc.,

27 Md. App. 172, 190 (Md. Ct. Spec. App. 1975). Market Securities does not dispute that these

elements are pled in the complaint.


       The timeliness and free-riding issues raised by Market Securities are relevant only to its

preemption defense. Because preemption is an affirmative defense, the burden is on Market

Securities to both plead and prove them. See, e.g., Lupian v. Joseph Cory Holdings LLC, 905

F.3d 127, 130 (3d Cir. 2018) (“[p]reemption is an affirmative defense that the defendant has the

burden to prove”); Brown v. Earthboard Sports USA, Inc., 481 F.3d 901, 912 (6th Cir. 2007)

(“[f]ederal preemption is an affirmative defense upon which the defendants bear the burden of

proof.”); Ibrahim v. Titan Corp., 391 F. Supp. 2d 10, 17-18 (D.D.C. 2005) (“preemption . . . is an

affirmative defense, with the burden of proof on the defendants”). Nevertheless, while these

matters are not the grist of a motion to dismiss, Capitol Forum will address each of them below.


       A. The complaint properly alleges the copying of time sensitive facts


       The time sensitive nature of the Capitol Forum publications is pled in the complaint at

paragraphs 2, 52, and 53. In particular, Capitol Forum alleges at paragraph 52 that “the



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newsworthy information that Capitol Forum gathers, analyzes and reports is valuable to many of

its customers in large part because of its time sensitive nature.” Market Securities asserts that the

publications are not time sensitive because it does not receive and copy them until they are first

distributed to the Capitol Forum subscribers. Not only is the time sensitivity of the publications

a factual issue, but the law does not require that the defendant publish at the same time as the

plaintiff does. An article can still be time sensitive if is distributed shortly after the initial

reporting. Here, we know that Market Securities published on the same date, and discovery will

reveal the precise timing involved.


        B. Free riding exists regardless of attribution


        “Free riding exists where a defendant invests little in order to profit from information

generated or collected by the plaintiff at great cost," Barclay’s at 887, and these elements are

pled in the complaint at paragraphs 2, 23, 53. Market Securities does not deny that it is profiting

from information developed at significant cost by Capitol Forum. Instead, it argues that it is not

free riding because it provides attribution to Capitol Forum as its source, Brief at 21. This

assertion is incorrect.


        In International News Service v. Associated Press, 248 U.S. 215 (1918), the Supreme

Court specifically distinguished the defendant’s failure to attribute its news content to AP as a

separate issue from the hot news misappropriation. 248 U.S. at 242 (“Besides the

misappropriation, there are elements of imitation, of false pretense, in defendant’s practices

[and] . . . the habitual failure to give credit to [AP]”) (emphasis added). Indeed, the Supreme

Court was careful to note that the defendant’s false pretenses and “habitual failure to give

credit,” “although accentuating the wrong, are not the essence of it.” Id. (emphasis added.).



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Rather, the “essence” of a hot news claim focuses on “an unauthorized interference with the

normal operation of a complainant’s legitimate business [in time sensitive information] precisely

at the point where the profit is to be reaped, in order to divert a material portion of the profit

from those who have earned it to those who have not; with special advantage to defendant in the

competition because of the fact that it is not burdened with any part of the expense of gathering

the news.” Id. at 240.


       In the NBA case, the Second Circuit in described the heart of a hot news claim and

recognized AP’s property interest at stake: “INS is not about ethics; it is about the protection of

property rights in time-sensitive information so that the information will be made available to the

public by profit seeking entrepreneurs. If services like AP were not assured of property rights in

the news they pay to collect, they would cease to collect it. The ability of their competitors to

appropriate their product at only nominal cost and thereby to disseminate a competing product at

a lower price would destroy the incentive to collect news in the first place. The newspaper-

reading public would suffer because no one would have an incentive to collect “hot news.” 105

F.3d at 853.


       The Barclays’ court did not disturb this key finding of NBA. Moreover, the court’s

decision in Barclays turned not on a lack of “passing off” the plaintiffs’ stock recommendations

as Fly’s own, but instead on the fact that, as a factual matter, Fly was not “free riding.” See also

GAI Audio of New York, 27 Md. App. at 192 (Under Maryland law, the tort of unfair competition

is limited neither to “passing off” one’s own goods as a competitor’s nor to “passing off” a

competitor’s goods as one’s own.); Ideal Toy Corp. v. Kenner Prod. Div. of Gen. Mills Fun Grp.,

Inc., 443 F. Supp. 291, 305 (S.D.N.Y. 1977) (Under New York law, unfair competition is not




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limited to circumstances where one party attempted to “pass off” his goods as those of another,

but “encompasses a broader range of unfair trade practices generally described as the

misappropriation of the skill, expenditures and labors of another.”). Although its conclusion that

Fly was not free riding on the Firms’ stock recommendations did reference the fact that Fly was

attributing the recommendations to the Firms, the Second Circuit’s holding was based principally

on its conclusion that Barclays and the other investments firms were “making” news in their

stock recommendations, and Fly was just “breaking” it. See Barclays, 650 F.3d at 902.


       VIII. THE HOT NEWS DOCTRINE IS NECESSARY TO PREVENT FREE-
       RIDING AND ENCOURAGE QUALITY JOURNALISM

       The hot news doctrine serves an important function in the news industry. This doctrine,

limited in time and scope, is necessary to ensure that larger and more established news

organizations are restricted in the use they can make of the reporting efforts undertaken by more

recent market entrants, such as Capitol Forum. Without some degree of protection, organizations

like Market Securities would be free to profit from the work of less established news companies,

and the incentives to produce first class journalism would be reduced—or eliminated. Indeed, a

recent journal article published by the ABA7 called for federal legislation to codify this doctrine

in cases (as here) where the information is the type essential to the plaintiff’s business; provides

a benefit to society; and would be unlikely to be generated without the incentive of protection for

a limited period of time. Chief among the author’s concerns were the necessity to prevent free-

riding and the need to provide an incentive to journalistic initiatives.




7
  See Lindsay G. Rabicoff, Comment, The Hot News Misappropriation Doctrine: Confusion in
the Internet Age and the Call for Legislative Action, 53 Jurimetrics J. 71–95 (2012).




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        The fact that this tort has not been recognized to date in the District of Columbia is of no

moment. The lack of case law simply reflects the reality that the doctrine has never been litigated

here. As a practical matter, this tort is one that finds applicability and traction in matters

involving financial markets and financial publications. The parties involved in these endeavors

are generally located in New York. That is where these types of cases are more often litigated,

and that is the jurisdiction “that has most heartily embraced the doctrine.” Edmund J. Sease,

Misappropriation Is Seventy-Five Years Old; Should We Bury It or Revive It? 70 N.D. L. Rev.

781, 801 (1994). As such, the fact that Capitol Forum is based in the District of Columbia should

not work to its disadvantage. Founded in 2012, Capitol Forum is the first and only organization

domiciled in the District of Columbia to establish a premium subscription based financial news

service—and it should be entitled to the same protections that its New York competitors receive.


        The recent Dow Jones & Co. v. Real-Time Analysis & News, Ltd. case provides context

to this point. No. 14-cv-131, 2014 WL 4629967 (S.D.N.Y. Sept. 15, 2014), report and

recommendation adopted, No. 14-cv-131, 2014 WL 5002092 (S.D.N.Y. Oct. 7, 2014). Dow

Jones, publisher of the Wall Street Journal and other financial publications, operates a service

known as “DJ Dominant” that provides real-time business news and analysis to financial

professionals. This service is provided for a fee and Dow Jones does not authorize third parties to

redistribute the content. However, the defendant in that case, Ransquawk, did just that:

systematically reproducing and redistributing the news content published by Dow Jones. Dow

Jones brought a “hot news” claim in New York against Ransquawk, alleging that this free-riding

by one of its competitors was likely to undermine Dow Jones’ economic incentive to invest in

the costly process of reporting time-sensitive news. The New York court agreed and found that

this hot news misappropriation claim stated a valid claim for relief.



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       Capitol Forum stands in the same position vis a vis Market Securities that Dow Jones did

with respect to Ransquack. Both Capitol Forum and Dow Jones have made significant

investments in their investigation and reporting of financial developments. Both Market

Securities and Ransquawk are free-riding on this “costly process of reporting time-sensitive

news.” Furthermore, Capitol Forum also competes against Dow Jones in the reporting of

financial news. It would seem markedly inequitable for Dow Jones, but not Capitol Forum, to

receive the benefit of free-riding protections in its home jurisdiction.


       Finally, this tort has been recognized in fourteen other jurisdictions, including New York,

Missouri, Texas, Pennsylvania, California, Alaska, Colorado, Illinois, North Carolina, South

Carolina, Wisconsin, New Jersey, Maryland, and Delaware. 70 N.D. L. Rev. at 801-02. The

only two jurisdictions that failed to adopt the doctrine, Hawaii and Massachusetts, did so in cases

involving much different facts, matters having nothing to do with news reporting.8


       IX. CONCLUSION


       Market Securities’ motion to dismiss should be denied.




8
  See New England Tel. & Tel. Co. v. National Merchandising Corp., 141 N.E.2d 702 (Mass.
1957) (relating to the distribution of opaque plastic covers for telephone directories); Famolare,
Inc. v. Melville Corp., 472 F.Supp. 738 (D.Haw. 1979) (relating to the alleged copying of the
wavy-bottom soles of plaintiff’s shoes).




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Dated: August 10, 2022


                                Respectfully submitted,


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